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                                                                     Peter A.
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                                                                                    0018
                                                                         US District Co • r., Clerk
                      UNITED STATES DISTRICT COURT                   .
                                                                         Eastern OisJ~rt,
                                                                                   ... 'vi O NC
                  EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION

                             NO. 5',\Cj-C/l; 230-1      ( 3)

UNITED STATES OF AMERICA                       )
                                               )
             V.                                )    INDICTMENT
                                               )
DAVID E. PIVER                                 )
                                               ),

       The Grand Jury charges that:

                                General Allegations

       At all times relevant to this Indictment:

       1.    The Immigration and Nationality Act (hereinafter "INA'') governs the

immigration laws of the United States.

       2.    The term "alien" means any person not a citizen or national of the

 United States.

       3.    Pursuant to the INA, aliens are not permitted to permanently reside in

. the United States unless they were lawful permanent residents.

       4.    Under the INA, an alien who is married to a United States citizen can

obtain lawful permanent resident status in the Unite.d .States if the marriage was

entered into in good faith, and otherwise the alien qualifies under the INA.

       5.    The United States Citizenship and Immigration Services (hereinafter

"USCIS") 1s an agency of the United States·. Department of Homeland Security




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charged with processmg applications for immigration benefits such as lawful

permanent residence.

      6.     An alien who is seeking to become a lawful vermanent resident of the

United States on the basis of marriage to a United States citizen is requ_ired to

complete and submit to the USeIS an Application to Register Permanent Residence

or Adjust Status (hereinafter "Form I-485"). The alien is required to sign the Form I-

485 certifying, under penalty of perjury, that the information provided by the alien,

including whether the alien ever falsely claimed to be a United States citizen, is true

and correct. If an individual other than the alien, such as an immigration attorney

prepared the Form I-485, he or she is required to sign the form certifying, under

penalty of perjury, that the application was completed based only on information that

the alien provided to the immigration attorney.

      7.     Pursuant to the INA, a false claim of United States citizenship renders

an alien deportable from the United States

      8.     Upon receipt of the Form I-485 and· additional documentation, the

USeIS begins an official proceeding to determine whether the alien is admissible to

the United States pursuant to the INA and to grant the petition.

      9.     As part of the official proceeding, the users conducts interviews witJ:i

the alien and the United States citizen spouse in order to verify that the information

provided in the Form I-485 is true and correct. The alien's attorney can be present

during the interview.




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      10.       The defendant, DAVID E. PIVER, (hereinafter "PIVER"), is a citizen of

the United States, and is an attorney admitted to practice law in Pennsylvania and

in immigration proceedings throughout the United States.

     · 11.      Individual A.P.B. is an alien, and a citizen of Nepal, who resided in

Wake County, North Carolina.

      12.       Individual L.C.B. is a citizen of the United States, and is the spouse of

Individual A.P.B, who resided in Wake County, North Carolina.

                                        COUNT ONE

      Paragraphs 1-12 of the General Allegations section above are incorporated and

re-alleged herein by reference.

      Beginning in or around March 2017, and continuing through on or about

around June 13, 2018, in the Eastern District of North Carolina and elsewhere,

DAVID E. PIVER, defendant herein, did knowingly and willfully combine, conspire,

confederate, and agree with other persons known and unknown to the Grand Jury to

commit certain offenses against the United States, that is:

      a. To knowingly make under oath, and to knowingly subscribe as true under

             penalty of perjury under Title 28, United States Code, Section 17 46, a false

             statement with respect to a material fact in an application required_ by the

             immigration laws and regulations prescribed thereunder, and to knowingly

             present any such application which contained any such false statement and

             failed to contain any reasonable basis in law or fact, in violation of Title 18,

             United States Code, Section 1546(a); and



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      b. To knowingly make a false statement under oath in a case, proceeding, and

         matter.relating to, and under, and by virtue of any law of the United States

         relating to the registry of aliens, in violation of Title 18, United States Code,

         Section 1015(a).

                       PURPOSE OF THE CONSPIRACY

      It was the purpose of the conspiracy for PIVER, along with others known and

unknown to the Grand Jury, to secure Individual A.P.B.'s lawful permanent resident

status in the United States by falsely statiijg to USCIS that Individual A.P.B. had

never claimed to be a United States citizen.

      It was further the purpose of the conspiracy for PIVER, along with others

known and unknown to the Grand Jury, to conceal Individual A.P.B.'s previous false

claim of United States citizenship in order to prevent Individual A.B.P.'s removal

from the United States.

      It was further part of the conspiracy that Individual A.P .B. and Individual

L.C.B. would pay PIVER approximately $10,000.

                 MANNER AND MEANS OF THE CONSPIRACY

      The manner and means by which PIVER, and his co-conspirators, sought to

accomplish the purpose of the conspiracy included, among other things, the following:

      PIVER induced Individual A.P.B., an alien, to conceal Individual A.P.B.'s past

false claim of United States citizenship. The purpose of the false statement was to

fraudulently qualify Individual A.P.B. for lawful permanent resident status in the

United States.



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       It was further part of the conspiracy that PIVER would :prepare and submit

immigration applications, and supporting documentation, on behalf of Individual

A.P .B. to USCIS knowing the Form I-485 contained a false statement.

                                   OVERT ACTS

       In further~nce of the conspiracy and in order to accomplish the purpose and

object th~reof, PIVER, and his co-conspirators did commit, and cause to commit,

among others, at least one of the following overt acts:

       1.     On or about May 16, 2011, in order to qualify for employment in the

United States, Individual A.P.B. attested under penalty of perjury in Apex, North

Carolina, that he was a citizen of the United States in a Form I-9i Employment

Eligibility Verification.

       2.     In or about March, 2017, Individual A.P.B. retained PIVER to represent

Individual A.P.B. and Individual L.C.B. in the completion and filing of Form I-485,

based on their marriage, among other petitions, with USCIS. Individual A.P.B. and

Individual L.C.B. advised PIVER that Individual A.P.B. had been working in the

United States out of status and had made a false claim of United States citizenship.

       3.     In or about March 2017, PIVER stated to Individual A.P.B. that the

question of false claim of United States citizenship never gets brought up during the

immigration interviews with USCIS. Further, PIVER told Individual A.P.B. not to

worry about it.

       4.     On or about August 8, 2017, PIVER filed a Notice of Entry or

Appearance as Attorney or Accredited Representative (hereinafter "Form G-28") with



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USCIS. The Form G-28 established the representation ofindividualA.P.B. regarding

Form I-485, and additional applications.

         5.   PIVER stated in the Form G-28 that Individual A.P.B. resided at

Millicent Way, Morrisville, North Carolina.

         6.   In or about August 2017, PIVER prepared Form I-485 on behalf of

Individual A.P.B. Question 66 of Form I-485 asked "have you EVER falsely claimed

to be a United States citizen (in writing or any other way)?" PIVER answered "No" to

the question. PIVER forwarded the form, or caused it to be forwarded, to Individual

A.P.B.

         7.   On or about August 8, 2017, Individual A.P.B. signed the Form I-485 in

Wake County, North Carolina. Individual A.P.B. certified, under penalty of perjury,

that all the information in the application, including the answer "No" to Question 66

was complete, true, and correct.

         8.   On or about August 28, 2017, PIVER signed the preparer's certification

and presented Form I-485 to USCIS. PIVER certified, under penalty of perjury, that

the contents in Form I-485 were based only on information that Individual A.P.B.

provided to PIVER.

         9.   On or about December 14, 2017, PIVER, Individual A.P.B., and

. Individual L.C.B. appeared at the USCIS office in Durham, North Carolina, for an

interview. During the interview, a USCIS adjudicator asked Individual A.P.B.

whether he had previously falsely claimed to be a United States citizenship.




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Individual A.P .B. orally responded "Yes." PIVER asked the adjudicator if he could

step into the hallway with Individual A.P.B.

       10.     On or about December 14, 2017, PIVER advised Individual A.P.B. to

recant or retract Individual A.P.B.'s admission of false claim of United States

citizenship.

       11.     On or about December 14, 2017, Individual A.P.B. returned to the

interview room and told the adjudicator he did not know and could not remember if

he ever falsely claimed United States citizenship.

       12.     On or about December 14, 2017, PIVER advised Individual A;P.B. and

Individual L.C.B. to physically move their residence to another area outside of the

jurisdiction of the USCIS Durham office.

       13.     On or about December 18, 2017, PIVER submitted a letter via overnight

delivery to USCIS in Durham, North Carolina, requesting to withdraw the Form I-

485.

       14.     On or about February 15, 2018, Individual A.P.B. and Individual L.C.B.

leased an apartment at Pisgah Church Road, in Greensboro, North Carolina.

       15.     On or about February 22, 2018, Individual A.P.B. changed his address

to Pisgah Church Road, Greensboro, North Carolina, on his driver's license with the

North Carolina Division of Motor Vehicles.

       16.     On or about April 2, 2018, PIVER prepared another Form I-485 on

behalf of Individual A.P.B. PIVER stated in Form Is485 that Individual A.P.B. and

Individual L.C.B. resided at Pisgah Church Road, Greensboro, North Carolina.



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Further, in response to Question 66 of Form I-485 "have you EVER falsely claimed to

be a United States citizen (in writing or any other way)?" PIVER answered "No."

      17.    On or about April 2, 2018, Individual A.P.B. signed Form I-485 in Wake

County, North Carolina. Individual A.P.B. certified, under penalty of perjury, that all

the information in the application, including the answer "No" to Question 66 was

complete, true, and correct.

     · 18.   On or about April 13, 2018, PIVER filed another Form G-28 with USCIS.

The G-28 established the representation of Individual A.P.B. regarding the Form I-

485, and other applications, with USCIS. PIVER stated in Form G~28 that Individual

A.P.B. resided at Pisgah Church Road, Greensboro, North Carolina.

      19.    On or about April 13, 2018, PIVER signed the preparer's certification

and presented Form I-485 to USCIS. PIVER certified, under penalty of perjury, that

the contents in Form I-485 were based only on information that Individual A.P.B.

provided to PIVER.

      All in violation of Title 18, United States Code, Section 371.

                                   COUNT TWO

      On or about August 8, 2017, in the Eastern District of North Carolina and

elsewhere, the defendant, DAVIDE. PIVER, aided and abetted IndividualA.P.B. to

knowingly present and make under oath, and to knowingly subscribe as true under

penalty of perjury under Title 28, United States Code, Section 1746, a false statement

with respect to a material fact in an application required by the immigration laws

and regulations prescribed thereunder, that is, defendant PIVER prepared an



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Application to Register Permanent Residence or Adjust Status (Form I-485) on behalf

 of Individual A.P.B. in which it was stated Individual A.P.B. had never claimed to be

 a United States citizen, when in fact, as defendant PIVER then knew, Individual

A.P.B. had claimed to be a United States citizen in an Employment Eligibility

Verification (Form I-9) on or about May 6, 2011.

       All in violation of Title 18, United States Code, Sections 1546(a) and 2.

                                  COUNT THREE

       On or about August 8, 2017, in the Eastern District of North Ca,rolina and

elsewhere, the defendant, DAVIDE. PIVER, knowingly aided and abetted Individual

A.P .B. to make a false statement under oath in a case, proceeding, and matter

relating to, and under, and by virtue of any law of the United States relating to

naturalization, citizenship, and registry of aliens, that is, defendant PIVER prepared

an Application to Register Permanent Residence or Adjust Status (Form I-485) on

behalf of Individual A.P .B. in which it was stated Individual A.P .B. had never claimed

to be a United States citizen, when in fact, as defendant PIVER then knew, Individual

· A.P.B. had claimed to be a United States citizen in an Employment Eligibility

Verification (Form I-9) on or about May 6, 2011.

       All in violation of Title 18, United States Code, Sections 1015(a) and 2.

                                   COUNT FOUR

       On or about December 14, 2017, in the Eastern District of North Carolina and

elsewhere, the defendant, DAVIDE. PIVER, aided and abetted Individual A.P.B. to

knowingly present and make under oath, and to knowingly subscribe as true under



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penalty of perjury under Title 28, United Stat'es Code, Section 1746, a false statement

with respect to a material fact in an application required by the immigration laws

and regulations prescribed thereunder, that is, defendant PIVER advised Individual

A.P.B. at an Application to Register Permanent Residence or Adjust of Status (Form

I-485) interview to recant Individual A.P.B.'s verbal admission to an immigration

officer that Individual A.P.B. had previously made false claim of United States

citizenship, when in fact, as defendant PIVER then knew, Individual A.P.B. had

claimed to be a United States citizen.

      All in violation of Title 18, United States Code, Sections 1546(a) and 2.

                                   COUNT FIVE

      On or about December 14, 2017, in the Eastern District of North Carolina and

elsewhere, the defendant, DAVIDE. PIVER, knowingly aided and abetted Individual

A.P .B. to make a false statement under oath in a case, proceeding, and matter

relating to, and under, and by virtue of any law of the United States relating to

naturalization, citizenship, and registry of aliens, that is, defendant PIVER advised

Individual A.P.B. at an interview in connection with an Application to Register

Permanent Residence or Adjust Status (Form I-485) to recant Individual A.P.B.'s

verbal admission to an immigration officer that Individual A.P .B. had in effect

previously made a false claim of United States citizenship, when in fact, as defendant

PIVER then knew, Individual A.P.B. had claimed to be a United States citizen in an

Employment Eligibility Verification (Form I-9).

      All in violation of Title 18, United States Code, Sections 1015(a) and 2.



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                                    COUNT SIX

      On or a,bout April 13, 2018, in the Eastern District of North Carolina and

elsewhere, the defendant, -DAVID E. PIVER, did knowingly present and make under

oath, and knowingly subscribe as true under penalty of perjury under Title 28, Unite_d

States Code, Section 17 46, a false statement· with respect to a material fact in an

application required by the immigration laws and regulations prescribed thereunder,

that is, defendant PIVER prepared an Application to Register Permanent Residence

or Adjust Status (Form I-485) on behalf of Individual A.P.B. in which it was stated

Individual A.P.B. resided in Greensboro, North Carolina, and had never claimed to

be a United States citizen, when in fact, as defendant PIVER then knew, Individual

A.P.B. resided in Morrisville, North Carolina, and had claimed to be a United States

citizen in an Employment Eligibility Verification (Form I-9) on or about May 6, 2011.

      All in violation of Title 18, United States Code, Section 1546(a).

                                  COUNT SEVEN

      On or about April 13, 2018, in the Eastern District of North Carolina and

elsewhere, the defendant, DAVIDE. PIVER, did knowingly make a false statement

under oath in a case, proceeding, and matter relating to, and under, and by virtue of

any .law of the United States relating to naturalization, citizenship, and registry of

aliens, that is, defendant PIVER prepared an Application to Register Permanent

Residence or Adjust Status (Form I-485) on behalf of Individual A.P .B. in which it

was stated Individual A.P.B. resided in Greensboro, North Carolina, and had never

claimed to be a United States citizen, when in fact, as defendant PIVER then knew,



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Individual A.P.B. resided in Morrisville, North. Carolina, and had claimed to be a

United States citizen in an Employment Eligibility Verification (Form 1~9).

      All in violation of Title 18, United States Code, Section 1015(a).



                                       A TRUE BILL




                                       FO~PERSON



                                       DATE


ROBERT J. HIGDON, JR.
United States Attorney



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SEBASTIAN KIELMANOVICH
Assistant United States Attorney




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